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                                              PROOF OF SERVICE
1                             Won Yong Ha, et al. v. US Bank National Association, et al.
                                          Case No.: 2:19-cv-00492-RAJ
2
            I am employed in the County of Orange, State of California. I am over the age of 18 and not a
3

4    party to the within action. My business address is 1920 Old Tustin Avenue, Santa Ana, CA 92705.

5           On May 14, 2019, I served the foregoing document described as NOTICE OF APPEARANCE
6
     on the interested parties in this action by placing a true copy thereof enclosed in a sealed envelope
7
     addressed as follows:
8
                                       SEE ATTACHED SERVICE LIST
9

10   [X]     (BY MAIL) I caused each such envelope, with postage thereon fully prepaid, to be sealed and
     placed in the United States mail at Santa Ana, CA. I am readily familiar with the practice of Ghidotti |
11   Berger LLP for the collection and processing of correspondence for mailing, said practice being that in
     the ordinary course of business, mail is deposited in the U.S. Postal Service the same day as it is placed
12
     for collection.
13
     [ ]     (VIA NOTICE OF ELECTRONIC FILING (ECF)) Pursuant to controlling General Orders, the
14   foregoing documents will be served by the Court via NEF and hyperlink to the document. On May 14,
     2019, I checked the CM/ECF docket for this matter and determined that the following persons on the
15
     Electronic Mail Notice List to receive NEF transmission at the email addresses stated on the attached
16   service list.

17   [ ]    (BY FACSIMILE) Ghidotti | Berger LLP transmitted the above-referenced document(s) by
     facsimile transmission on its facsimile machine, having telephone number of (949) 427-2732, on the date
18
     and time stated below and to the facsimile number specified on the attached service list. The transmission
19
     was reported as complete and without error.

20   [ ]    (BY OVERNIGHT DELIVERY)                I am readily familiar with the practice of Ghidotti | Berger
     LLP for the collection and processing of overnight delivery and know that the document(s) described
21   herein will be deposited in a box or other facility regularly maintained by Federal Express for overnight
22
     delivery.

23   [ ]     (BY PERSONAL SERVICE) I caused the above-referenced documents to be personally served on
     the person(s) identified herein or on the attached service list.
24

25
     [ ]     (STATE)       I declare under the penalties of perjury of the State of California that the above is
     true and correct of my personal knowledge.
26   ////

27   ////
28

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                                                PROOF OF SERVICE
              Case 2:19-cv-00492-RAJ Document 5 Filed 05/14/19 Page 4 of 5



     [X]     (FEDERAL) I declare that I am employed in the office of Ghidotti | Berger LLP and that Mr.
1
     Kristin A. Zilberstein is a member of the bar of this Court.
2
           Executed on May 14, 2019, at Santa Ana, California.
3

4
                                                      /s/ Leticia Ruiz
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                                                      Leticia Ruiz

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                                             PROOF OF SERVICE
           Case 2:19-cv-00492-RAJ Document 5 Filed 05/14/19 Page 5 of 5



                                        SERVICE LIST
1                      Won Yong Ha, et al. v. US Bank National Association, et al.
                                 Case No.: 2:19-cv-00492-RAJ
2

3    Won Yong Ha and Monica Young Ha                 PLAINTIFFS, IN PRO PER
     9419 Points Dr. NE
4    Clyde Hill, WA 98004
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                                        PROOF OF SERVICE
